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                         THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION
                                               	  
DISPLAY TECHNOLOGIES, LLC,

                                                      Civil Action No. 2:17-cv-00070-JRG-RSP
                     Plaintiff,
                                                         CONSOLIDATED LEAD CASE
              v.
                                                           JURY TRIAL DEMANDED
HTC AMERICA, INC., et al.,

                       Defendants.

________________________________________/
                                                          Civil Action No. 2:17-cv-00067
DISPLAY TECHNOLOGIES, LLC,
                                                           JURY TRIAL DEMANDED
                     Plaintiff,
              v.

BLU PRODUCTS, INC.,

                       Defendant.
_____________________________________/

                     PLAINTIFF’S NOTICE OF COMPLIANCE WITH
                   PARAGRAPHS 1 AND 3 OF THE DISCOVERY ORDER

              Plaintiff Display Technologies, LLC (“Display”) by and through its

 undersigned counsel, hereby gives notice that it served upon Defendant’s counsel its Initial

 and Additional Disclosures pursuant to Paragraphs 1 and 3 of the Discovery Order.




PLAINTIFF’S NOTICE OF COMPLIANCE                                                           PAGE 1
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                                            Respectfully submitted,

                                            /s/ Thomas C. Wright
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                                            ATTORNEYS FOR DEFENDANTS DISPLAY
                                            TECHNOLOGIES, LLC


                               CERTIFICATE OF SERVICE

       The undersigned certifies that on this 28th day of June, 2017, all counsel of record were
served with this document in accordance with the applicable Federal Rules of Civil Procedure.


                                            /s/ Thomas C. Wright
                                            Thomas C. Wright




PLAINTIFF’S NOTICE OF COMPLIANCE                                                          PAGE 2
